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Law Offices of
ALAN R. SMITH
505 Ridge Street
Reno, Nevada 89501

(775) 786-4579

 

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ALAN R. SMITH, ESQ. #1449
HOLLY E. ESTES, ESQ. #11797

Law Offices of Alan R. Smith
505 Ridge Street ELECTRONICALLY FILED
Reno, Nevada 89501 July 24, 2014
Telephone (775) 786-4579
Facsimile (775) 786-3066
Email: mail@asmithlaw.com
Attorney for Debtors
ANTHONY THOMAS and WENDI
THOMAS and AT EMERALD, LLC
UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEVADA
—oo0000— .
In Re: Case No. BK-N-14-50333-BTB
Case No. BK-N-14-50331-BTB
ANTHONY THOMAS and
WENDI THOMAS, Chapter 11 Cases
[Jointly Administered]
AT EMERALD, LLC,

NOTICE OF ENTRY OF ORDER
APPROVING MOTION TO SELL

ASSETS FREE AND CLEAR OF LIENS

Debtors. Hearing Date: July 1, 2014
Hearing Time: 2:30 p.m.

/

 

PLEASE TAKE NOTICE that the above-entitled Court entered an Order Approving
Motion To Sell Assets Free And Clear Of Liens [DE 142] on the 23™ day of July, 2014
(“Order”). A copy of said Order is attached hereto as Exhibit “A” and made a part hereof.

DATED this 24" day of July, 2014.
LAW OFFICES OF ALAN R. SMITH
By: /s/ Alan R. Smith

ALAN R. SMITH, ESQ.
Attorney for Debtors

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Byun 7 Baal

Honorable Bruce T. Beesley
United States Bankruptcy Judge

 

 

 

 

 

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Entefed on Docket
Juty R3, 2014
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6 || ALAN R. SMITH, ESQ.
Nevada Bar No, 1449
7 | HOLLY E. ESTES, ESQ.
Nevada Bar No. 11797
8 || Law Offices of Alan R. Smith
505 Ridge Street ELECTRONICALLY LODGED
9 |! Reno, Nevada 89501 July 21, 2014
Telephone (775) 786-4579
10 || Facstmile (775) 786-3066
Email: mail@asmithlaw.com
1]
Attomey for Debtors
12 | ANTHONY THOMAS and WENDI
- THOMAS and AT EMERALD, LLC
14 UNITED STATES BANKRUPTCY COURT
15 DISTRICT OF NEVADA .
16 —oo00c0—
17 | In Re: Case No, BK-N-14-50333-BTB
Case No. BK-N-14-50331-BTB
18 | ANTHONY THOMAS and
19 WENDI THOMAS, Chapter 11 Cases
[Jointly Administered]
20 | AT EMERALD, LLC,
ORDER APPROVING MOTION TO
21 SELL ASSETS FREE AND CLEAR OF
LIENS
22
Debtors, Hearing Date: July 1, 2014
23 / Hearing Time: 2:30 p.m.
24 Debtor, AT EMERALD, LLC (the “Debtor”), by and through its counsel, HOLLY E.
25 | ESTES, ESQ., of the Law Offices of Alan R. Smith, filed its Motion To Sell Assets Free And
26 | Clear Of Liens (“Motion”) on June 23, 2014 [DE 83]. The Court considered the pleadings
27 | and papers on file. Good cause appearing,
28 IT IS HEREBY ORDERED that the Debtor’s Motion is granted,
ALAN fe S9UTH

505 Ridge Strect

Reno, Nevada 39501

(773) T36-4$79

 

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EXHIBIT “_A_”

 
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Law Offices of
ALAN R. SMITH
505 Ridge Sireet
Reno, Nevatla 89501
(775) 786-4879

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IT IS HEREBY FURTHER ORDERED that the sum of $20,000,000.00 to pay
creditors and an additional sum to pay federal capital gains taxes from the sale proceeds shall
be deposited into the trust account of the Law Offices of Alan R. Smith and the funds shall
not be disbursed until issuance of further order from this Court.

IT IS HEREBY FURTHER ORDERED that the request for waiver of 14 day stay
under Fed,R.Bankr.P, 6004(b) is GRANTED.

In accordance with Local Rule 9021, counsel submitting this document certifies that
the order accurately reflects the court’s ruling and that (check one):

O The court has waived the requirement set forth in LR 9021(b)(1).
O No party appeared at the hearing or filed an objection to the motion.

a [have delivered a copy of the proposed order to all counsel who appeared at
the hearing, and any unrepresented parties who appeared at the hearing, and
each has approved or disapproved the order, or failed to respond, as indicated
below [list each party and whether the party has approved, disapproved, or
failed to respond to the document]:

Counsel appearing:

 

 

yy
Ce A. SILVER, ESQ.
orney for Kenmark Ventures, LLC

Trustee: ; . ;
No Appearance at hearing; no additional service required,

DB I certify that this is a case under Chapter 7 or 13, that I served a copy of this

order with the motion pursuant to LR 9014(g), and that no party has objected
to the form or content of this order.

| RESPECTFULLY SUBMITTED BY:
LAW OFFICES OF ALAN R. SMITH
By: (s/ Holly E. Estes

HOLLY E. ESTES, ESQ.
Attorney for Debtor

 

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